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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )                   8:09CR32
      vs.                                   )
                                            )                    ORDER
QUINCEY L. MOORE,                           )
                                            )
                    Defendant.              )


       This matter is before the court on the defendant's motion for an extension of time
in which to file pretrial motions (Doc. 35). The motion does not comply with NECrimR
12.1(a) and paragraph 9 of the Progression Order (Doc. 25) in that the motion is not
accompanied by the defendant’s affidavit or declaration stating that defendant:

      (1) Has been advised by counsel of the reasons for seeking a continuance;
      (2) Understands that the time sought by the extension may be excluded
          from any calculation of time under the Speedy Trial Act, 18 U.S.C. §
          3161 et seq.; and
      (3) With this understanding and knowledge, agrees to the filing of the
          motion.

Nor is there a certificate of service, as required by NECrimR 49.5.

      For these reasons,

       IT IS ORDERED that the motion is held in abeyance until February 25, 2009. If the
deficiencies noted above are not cured by February 25, 2009, the motion will be denied.

      DATED February 20, 2009.

                                         BY THE COURT:

                                         s/ F.A. Gossett
                                         United States Magistrate Judge
